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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

  UNITED STATES OF AMERICA
                                                               No. 21-cr-399 (RDM)
              Plaintiff,
  v.

  ROMAN STERLINGOV

              Defendant.



  DEFENSE RESPONSE TO COURT ORDER REGARDING THE GOVERNMENT’S
             FOREIGN LANGUAGE TRANSLATIONS (Dkt. 174)

       The Government produced to the Defense translations into English from Russian,

Swedish, and Romanian. The Government produced these translations on May 19, 2022, August

23, 2022, and August 31, 2023. In some cases, the Government translated the entire document in

question, such as with Swedish banking records, but in other instances the Government only

translated portions of a document, such as with Mr. Sterlingov’s hand-written notes.

       None of the Government’s translations show Mr. Sterlingov discussing the operation of

Bitcoin Fog, and there are serious questions as to their relevancy to this prosecution. Many of the

translations appear to reflect a prosecutorial bias in the word choice and phrasing. Mr.

Sterlingov, to the extent that his current pretrial incarceration has allowed him to review the

Government’s translations, objects to their use at trial. He requests that this Court appoint an

independent, neutral translator who has not been informed that these translations are based on

documents from a defendant in a federal criminal trial.
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                                          Background
       On May 19, 2022, the Government produced translations of Mr. Sterlingov’s handwritten

and digital notes. The Government’s discovery does not pair these translations with their source,

nor did the Government include dates or page references that allow the Defense to easily identify

their source. Many of the translations are fragmented and are not a complete translation of the

full documents in question.

       On August 23, 2022, the Government produced translations of Romanian language

documents and communications related to the webhosting of Mr. Sterlingov To the Moon VPN

business. The Government does not pair these translations with their source, nor did the

Government include dates or page references that would allow the Defense to easily identify

their source.

       On August 30, 2023, following a hearing in which this matter was discussed, the Court

ordered that the Defense meet and confer with the Government and to file a brief on or before

September 5, 2023, setting forth the grounds that the Defense has for opposing the Government’s

Russian translations.

       On August 31, 2023, the Government produced translations of Swedish documents and

emails as well as communications made while Mr. Sterlingov was in the Northern Neck

Regional Jail in Warsaw, Virginia. The Government does not pair these translations with their

source, nor did the Government include dates or page references that would allow the Defense to

easily identify their source.

       On September 1, 2023, the Defense met and conferred with the Government regarding

the Government’s Russian translations, among other topics.
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                                             Argument
              1. Prosecutorial Bias Permeates the Government’s Foreign Language
                 Translations

        Mr. Sterlingov, a native speaker of both Russian and Swedish, opposes the Government’s

translations. What he has been able to review, given his limited access to the discovery resulting

from his pretrial detention in state jails rented by the federal government due to the lack of any

adequate federal facilities in the District of Columbia, leads to this opposition. The

Government’s translations from Russian, Swedish, and Romanian appear to reflect a

prosecutorial and interpretive bias that calls into question their objectivity. It appears that

translations were made with the goal of assisting the prosecution secure a conviction, rather than

providing accurate, neutral translations.

        For example, in one document that the Government has repeatedly highlighted, the

Government’s translators misinterpret the Russian word for “depositing” as “putting.” The

mistranslation appears to reflect a desire to portray the simple and innocent act of depositing as

somehow being a sinister act involving money laundering. A simple Google translation of this

specific word translates it as “depositing”, not “putting”. Similar mistranslations and biased word

choices infect the Government’s translations and raise questions as to their objectivity and

neutrality.

        Additionally, the Government’s failure to identify the original documents from which the

translations were derived makes reviewing the Government’s translations unduly burdensome.

There is no particular order to the Government’s translations and translations appear to have

been cherry-picked from discovery. The fragmentary, piece-meal nature of the Government’s

translations makes it difficult, if not impossible, to place these translations within their proper

context.
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           2. The Government Appears to Use Summaries Rather than Complete
              Translations

       The piecemeal and fragmentary nature of the Government’s translations, combined with a

clear reference to each original source makes it difficult to ascertain whether the Government’s

translations are summaries or verbatim translations. To the extent that the Government is using

summaries in lieu of complete translations, the Defense objects.


           3. The Defense Requests Neutral Translations

       The Defense requests that the Court appoint a neutral translator who has not been

informed that they are translating documents from a defendant in a federal criminal trial.

Moreover, the Defense requests that the translated documents be clearly and specifically

identified by the Government so that their original language versions are readily identifiable. A

neutral translator who is uninformed as to the fact that they are translating documents from a

federal criminal defendant will mitigate the negative effects of any cognitive or confirmation

bias. As proffered Defense expert Dr. Itiel Dror testified at his Daubert hearing, what a person is

told before they begin a task affects the output from that task. A neutral Court-appointed

translator would resolve this issue, and the Defense requests that one be appointed by the Court.

                                           Conclusion
       The Defense does objects to the Government’s certifications of its foreign language

translations, and requests that this Court appoint an independent neutral translator who has not

been informed that the documents to be translated are from a federal criminal defendant.
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Dated: September 5, 2023
Brooklyn, New York


                                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of September 2023, the forgoing document was filed

with the Clerk of Court using the CM/ECF System, and sent by email to the attorneys for the

Government listed below:

                                                                          s/ Michael Hassard

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